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 Attorneys for Defendants


                              UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF UTAH


     PURA SCENTS, INC., a Delaware
     corporation,                                        DEFENDANT ATMOS, INC.’S
                                                       MOTION TO DISMISS COMPLAINT
                      Plaintiff,                      PURSUANT TO FED. R. CIV. P. 12(B)(6)

     v.
                                                         Case No.: 2:24-cv-00958-TS-DAO
     ATMOS FRAGRANCE, INC., a Delaware
     corporation, KRISTEN KNIGHT, an                             Judge: Ted Stewart
     individual,                                         Magistrate Judge: Daphne A. Oberg

                         Defendants.

          Defendants Atmos Fragrance, Inc. and Kristen Knight move this Court to dismiss Plaintiff

 Pura Scents, Inc.’s claims of trade secret misappropriation under the DTSA and UTSA, breach of

 contract, and claims of patent infringement, for failure to state a claim upon which relief can be

 granted under Fed. R. Civ. P. 12(b)(6). 1 Specifically, Pura’s Complaint fails to provide necessary

 factual bases to support the conclusory allegations that Atmos misappropriated any Pura trade



 1
   Under Rule 12(a)(4) of the Federal Rules of Procedure, unless the Court sets a different time,
 Defendants will respond to the unchallenged portions of the Amended Complaint once the Court
 has decided this Motion. See Talbot v. Sentinel Ins. Co.¸LTD., No. 11-01766, 2012 WL 1068763,
 at *4 (D. Nev. Mar. 29, 2012) (collecting cases for the majority proposition that “filing a partial
 motion to dismiss will suspend the time to answer those claims or counterclaims that are not
 subject to the motion” until 14 days after the court has decided the motion).
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 secret, that Atmos’ products infringe Pura’s patents, or that a breach of contract between Pura and

 Ms. Knight occurred. For these reasons, the Court should dismiss Pura’s claims against

 Defendants.

 I.     BACKGROUND

        On December 20, 2024, Pura filed a complaint against Defendants alleging Atmos

 infringed two patents owned by Pura, that Ms. Knight breached a contract between herself and

 Pura, and that Defendants misappropriated trade secrets in violation of 18 U.S.C. § 1836 (“DTSA”)

 and under Utah Code §§ 13-24-1 (“UTSA”). [Dkt. 1.]

        To support its claims, the Complaint alleges the following in relevant part:

                        92. Atmos has been and is infringing at least claim 1 of the
                ’091 Patent by making, using, importing, selling, or offering for sale
                in the United States, or importing into the United States, including
                within this judicial district, the Accused Products in violation of 35
                U.S.C. § 271(a).

                        102. Atmos has been and is infringing at least claim 1 of the
                ’601 Patent by making, using, importing, selling, or offering for sale
                in the United States, or importing into the United States, including
                within this judicial district, the Accused Products in violation of 35
                U.S.C. § 271(a).

                       117. On information and belief, Ms. Knight materially
                breached the Knight Agreement by (among other things):

                       a. Disclosing Pura’s confidential information to Atmos;
                          and
                       b. Using Pura’s confidential information to develop products
                for Atmos that directly compete with Pura’s products.

                       125. The Investor Individuals has access to Pura’s
                confidential and trade secret information through their involvement
                with Pura’s investors. On information and belief, the Investor
                Individuals disclosed this confidential and trade secret information
                with Atmos when they helped found or finance the company.

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                          126. Ms. Knight acquired Pura’s trade secrets while serving
                  as an independent contractor and consultant for Pura. As alleged
                  above, on information and belief, when Ms. Knight ended her
                  independent contractor relationship with Pura, she took Pura’s trade
                  secrets with her and, in violation of her contractual and other legal
                  duties to Pura, used and disclosed the trade secrets to Atmos for her
                  own and Atmos’ benefit.

                          127. On information and belief, Atmos acquired Pura’s trade
                  secrets from the Investor Individuals and Ms. Knight. Atmos knew,
                  or had reason to know, that the information provided by the Investor
                  Individuals and Ms. Knight constituted Pura’s trade secrets and, on
                  information and belief, encouraged or instructed the Investor
                  Individuals and Ms. Knight to disclose such information. On
                  information and belief, Atmos used the information provided by the
                  Investor Individuals and Ms. Knight to establish operations, develop
                  or improve its product offerings and business systems, target
                  customers, and build its brand.

 [Compl. ¶¶ 92, 102, 117, 126, 127.]

 II.       RULE 12(B)(6) PLEADING STANDARD

           A complaint must contain “‘a short and plaint statement of the claim showing that the

 pleader is entitled to relief,’ in order to ‘give the defendant fair notice of what the . . . claim is and

 the grounds upon which it rests.’” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007), quoting

 Conley v. Gibson, 355 U.S. 41, 47 (1957). To survive a motion to dismiss under Rule 12(b)(6), a

 complaint must contain sufficient factual matter, if accepted as true, to “state a claim to relief that

 is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009), quoting Twombly, 550 U.S.

 at 570.

           To satisfy this factual plausibility standard, the plaintiff must plead “factual content that

 allows the court to draw the reasonable inference that the defendant is liable for the misconduct

 alleged,” based on “more than a sheer possibility that a defendant has acted unlawfully.” Id., citing

 Twombly, 550 U.S. at 556. “Threadbare recitals of the elements of a cause of action, supported by

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 mere conclusory statements, do not suffice.” Id., citing Twombly, 550 U.S. 555.

 III.    THE COMPLAINT FAILS TO STATE A CLAIM FOR MISAPPROPRIATION OF
                                TRADE SECRETS

        Pura’s claims for misappropriation of trade secrets under both the DTSA and UTSA should

 be dismissed as the Complaint fails to properly allege any facts that state a claim for relief. “The

 elements of a claim for trade secret misappropriation under the DTSA and UTSA closely resemble

 each other.” Total Quality Sys., Inc. v. Universal Synaptics Corp., 670 F.Supp.3d 1196, 1210 (D.

 Utah 2023) (citing DTC Energy Grp., Inc. v. Hirschfeld, 420 F.Supp.3d 1163, 1175 (D. Colo.

 2019). To successfully bring a claim for trade secret misappropriation, “a plaintiff must show (1)

 the existence of a trade secret that relates to a product or service used in, or intended to use in,

 interstate or foreign commerce; (2) the acquisition of the trade secret without consent; and (3) the

 person acquiring, using, or disclosing the trade secret knew or had reason to know that the trade

 secret was acquired by improper means.” Id.

        A complaint is deficient and fails to plausibly state a claim for relief when the complaint

 only contains conclusory statements that are turned into factual allegations when preceded by “on

 information and belief” statements. See Balfour Beatty Infrastructure Inc. v. Am. Track

 Generations LLC, No. 19- 249, 2020 WL 13049359, at *4 (D. Wyo. June 22, 2020) (dismissing

 the plaintiff’s complaint for failure to plausibly allege the misappropriation of trade secrets when

 the complaint stated “on information and belief” conclusory statements).

        Here, Pura’s Complaint fails to plausibly state a claim for relief for misappropriation of

 trade secrets. The Complaint alleges both federal and state trade secrets claims. As to the violation

 of the DTSA (18 U.S.C. § 1836), the Complaint generally alleges that Pura has several trade secrets

 within the definition of 18 U.S.C. § 1836(3). [Compl. ¶ 120.] Pura alleges that “[t]hese trade secrets

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 include (among other things) Shopify financial and customer data; information about Pura’s

 Ambassador Program Database; and information regarding Pura’s financial outlook and

 projections.” [Compl. ¶ 121.] Pura also alleges that “Investor Individuals had access to Pura’s

 confidential and trade secret information . . . On information and belief, the investor individuals

 disclosed this confidential and trade secret information to Atmos.” [Compl. ¶ 125.] Pura further

 alleges that “Ms. Knight acquired Pura’s trade secrets while serving as an independent contractor

 and consultant for Pura . . . [and] on information and belief, when Ms. Knight ended her

 independent contractor relationship with Pura, she took Pura’s trade secrets with her and . . . used

 and disclosed the trade secrets to Atmos.” [Compl. ¶ 126.] Pura alleges that “[o]n information and

 belief, Atmos acquired Pura’s trade secrets from the Investor Individuals and Ms. Knight” and

 “[o]n information and belief, Defendants continue to use Puras’ trade secrets.” [Compl. ¶¶ 127-

 28.]

        Similarly, Pura’s claims for misappropriation of trade secrets in violation of the UTSA

 (Utah Code §§ 1302401 et seq.) allege that “Pura has several trade secrets within the definition of

 18 U.S. Utah Code § 13-24-2(4).” [Compl. ¶ 133.] Pura states that “[t]hese trade secrets include

 (among other things)” Shopify financial and customer data; information about Pura’s Ambassador

 Program Database; and information regarding Pura’s financial outlook and projections. [Compl. ¶

 134.] Similarly to the claims made under the DTSA, Pura alleges that “Investor Individuals had

 access to Pura’s confidential and trade secret information . . . On information and belief, the

 Investor Individuals disclosed this confidential and trade secret information to Atmos.” [Compl. ¶

 138.] Pura again alleges that “Ms. Knight acquired Pura’s trade secrets while serving as an

 independent contractor and consultant to Pura . . . on information and belief, when Ms. Knight


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 ended her independent contractor relationship with Pura, she took Pura’s trade secrets with her and

 . . . used and disclosed the trade secrets to Atmos.” [Compl. ¶ 139.] Pura alleges that “[o]n

 information and belief, Atmos acquired Pura’s trade secrets from the Investor Individuals and Ms.

 Knight” and “[o]n information and belief, Defendants continue to use Pura’s trade secrets.”

 [Compl. ¶¶ 140-41.]

         Here, the contentions Pura uses to support its claims are conclusory statements, each

 prefaced with a hedge: “on information and belief.” The core substantive aspect of the allegation

 is nothing more than the conclusions: “Atmos acquired Pura’s trade secrets from the Investor

 Individuals and Ms. Knight” and “Defendants continue to use Pura’s trade secrets.” No actual facts

 alleged in the Complaint support these conclusions. As such, this Complaint is similar to the

 complaint in Balfour, where the court dismissed the plaintiff’s complaint because the allegations

 were based “on information and belief” conclusory statements.

         Further, it is not clear from the Complaint which trade secrets are alleged to have been

 misappropriated. Specifically, Pura prefaces its list of trade secrets by saying, “[t]hese trade secrets

 include (among other things).” Obviously, it cannot be clear to Defendants or anyone else the

 nature of “among other things.”

         Because Pura has failed to support its claims of trade secret misappropriation under the

 DTSA and UTSA with supporting facts, the Complaint fails to plausibly state a claim for relief

 under Twombly and Iqbal. The Court should, therefore, dismiss Pura’s claims for trade secret

 misappropriation.

           IV.       THE COMPLAINT FAILS TO STATE A CLAIM FOR PATENT
                                     INFRINGEMENT

         Pura’s claims for patent infringement should also be dismissed as the Complaint fails to

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 state a claim on which relief can be granted as to infringement of both patents asserted in this case.

 “[T]he Rule 8 pleading standards as construed by the Supreme Court in . . . Iqbal . . . and . . .

 Twombly . . . govern in patent cases.” The Beer Barrel, LLC v. Deep Wood Bre Prod., LLC, No.

 16-440, 2016 WL 5936874, at *3 (D. Utah Oct. 12, 2016). Under these standards, courts explain

 that if a pleading fails to provide an “explanation as to the how or why the [] products infringe,” it

 is not inferred that a plaintiff will be entitled to relief. PageMelding, Inc. v. ESPN, Inc., No. 11-

 06263, 2012 WL 851574, at *2 (N.D. Cal. Mar. 13, 2012). Similarly, “if a complaint does not

 contain factual allegations that would permit a court to infer that a required element of the patent

 claim was satisfied, it is hard to see how infringement would be ‘probable.’” Novitaz, Inc. v.

 inMarket Media, LLC, No. 16- 06795, 2017 WL 2311407, at *3 (N.D. Cal. May 26, 2017); see

 also AlterG, Inc. v. Boost Treadmills LLC, 388 F. Supp. 3d 1133, 1142-43 (N.D. Cal. 2019)

 (explaining that a “direct infringement claim ‘does not satisfy the standards of Twombly and Iqbal

 where it does not at least contain factual allegations that the accused product practices every

 element of at least one exemplary claim’”).

            a. Pura Failed to Plead Facts to Support Its Allegation That Atmos Infringed US.
                                           Patent No. 10, 967,091.

        Pura’s Complaint fails to contain sufficient factual allegations that Atmos’ products

 practice every element of at least one exemplary claim. Pura alleges that “Atmos has been and is

 infringing at least claim 1 of the ’091 Patent.” [Compl. ¶ 91.] Claim 1 of the ’091 Patent reads as

 follows:

                 A solution dispensing apparatus, comprising:
                          a body including a first vial bay and a second vial bay, the
                 first vial bay and the second vial bay being adjacently situated;



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                        a first heating element disposed in the body in association
                with the first vial bay; a second heating element disposed in the body
                in association with the second vial bay;
                        a vial retaining mechanism including a first vial coupling
                proximate the first vial bay, and a second vial coupling proximate
                the second vial bay and the second heating element, the first vial
                coupling configured to receive and detachably retain a first vial and
                situate a dispensing end of the first vial toward the first heating
                element, and the second vial coupling configured to receive and
                detachably retain a second vial and situate a dispensing end of the
                second vial toward the second heating element;
                        a switching mechanism including the first heating element
                associated with the first vial bay, and the second heating element
                associated with the second vial bay, wherein: the first heating
                element is configured to heat a first solution dispensed from the
                dispensing end of the first via, and the second heating element is
                configured to heat a second solution dispensed from the dispensing
                end of the second vial;
                        a wireless interface configured to wirelessly communicate
                with a management server to receive control data stored on the
                management server, the control data including solution settings from
                the management server based on an association of the solution
                dispensing apparatus with a particular room; and
                        a controller electronically coupled to the wireless interface
                to receive the control data and electronically coupled to the
                switching mechanism, the controller configured to instruct the
                switching mechanism to dispense one or more of the first solution
                from the first vial via the first heating element and the second
                solution from the second vial via the second heating element based
                on the solution settings received from the management server and
                an attribute of the particular room.

 [Compl., Exh. A]

 Pura alleges that in addition to infringing the ’091 Patent, Atmos has been inducing infringement

 and contributing to the infringement of the ’091 Patent. [Compl. ¶¶ 93-95.] Pura’s Complaint

 alleges that “despite being put on specific notice of the ‘’091 Patent, Atmos has continued to

 infringe the ’109 Patent.” [Compl. ¶ 96.] Plaintiff’s Complaint alleges that Atmos does this by

 selling products, including diffusers, fragrance vials with diffusers, a smartphone app, “and other


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 technology employed by Atmos to provide the features described herein.” [Compl. ¶ 58.] Pura

 alleges that Atmos sells products that include a diffuser with three holders for fragrance vials with

 flanges, heating elements to diffuse fragrances, and an app to allow users to control the release of

 fragrance at various intensities by means of the heating mechanisms. [Compl. ¶¶ 60-62.]

        Pura’s Complaint is deficient as there are not factual allegations sufficient to support the

 claim that Atmos’ products practice every claim of Claim 1, assuming that is the exemplary claim.

 One of the elements required by Claim 1 of the ’091 Patent is for “a switching mechanism

 including the first heating element associated with the first vial bay, wherein: the first heating

 element is configured to heat a first solution dispensed from the dispensing end of the first vial,

 and the second heating element is configured to heat a second solution dispensed from the

 dispensing end of the second vial.” After a review of Pura’s Complaint, Defendants are unable to

 identify where the Complaint alleges that any of Atmos’ products practice the limitation of “a

 switching mechanism.”

        Additionally, Claim 1 includes a limitation for “a wireless interface configured to

 wirelessly communicate with a management server.” Pura’s Complaint makes no mention of any

 Atmos product communicating with a server. Rather, the Complaint alleges that Atmos’ “app can

 be used to configure the Accused Products.”

        Pura’s Complaint is therefore deficient, as it fails to meet the standards under Iqbal and

 Twombly as the claim for infringement of the ’091 Patent is not supported by factual allegations

 that any Atmos product practices every element of Claim 1 of the ’091 Patent. Because Pura’s

 Complaint fails to meet the requisite standards, this court should dismiss the claim for infringement

 of the ’091 Patent.


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        b. Pura Failed to Plead Facts to Support Its Allegation That Atmos Infringed U.S.
                                        Patent No. 11,213,601

       Similarly to the claims of infringement of the ’091 Patent, Pura’s Complaint fails to contain

sufficient factual allegations that any Atmos product practices every element of at least one

exemplary claim of the ’601 Patent. Pura’s Complaint simply states, “Atmos has been and is

infringing at least claim 1 of the ’601 Patent.” [Compl. ¶ 102.] Claim 1 of the ’601 Patent reads:

               A fragrance intensity control apparatus, comprising:
                        a first vial bay configured to receive and detachably retain a
               first vial including a first fragrance solution;
                        a first heating element disposed in the first vial bay and
               responsive to control data;
                        a first sensor proximate to the first heating element, the first
               sensor configured to measure a first temperature of the first heating
               element and to provide a first feedback based on the first
               temperature; and
                        a controller configured to generate the control data to adjust
               a first intensity of a first fragrance based on the first fragrance
               solution dispensed from the first vial, the first intensity adjusted by
               adjusting the first temperature at a first set point of the first heating
               element to an adjusted temperature at an adjusted set point, the
               control data based at least in part of the first feedback to maintain
               the adjusted temperature at the adjusted set point during a diffusion
               of the first fragrance solution.

[Compl., Exh. B]

Pura alleges that in addition to infringing the ’601 Patent, Atmos has been inducing and

contributing to the infringement of the ’601 Patent. [Compl. ¶¶ 103-105.] Pura’s Complaint makes

conclusory statements unsupported by facts. Pura’s Complaint alleges that “despite being put on

specific notice of the ‘’601 Patent, Atmos has continued to infringe the ‘’601 Patent . . . Atmos and

its employees have copied Pura’s product designs.” [Compl. ¶ 106.] Pura’s Complaint alleges that

Atmos does this by selling products including diffusers, fragrance vials with diffusers, a

smartphone app, and other technology employed by Atmos to provide the features described

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herein.” [Compl. ¶ 58.] Pura alleges that Atmos sells products that include a diffuser with three

holders for fragrance vials with flanges, heating elements to diffuse fragrances, and an app that

allows users to control the release of fragrance at various intensities by means of the heating

mechanisms. [Compl. ¶¶ 60-62.]

        Pura’s Complaint is further deficient as it does not contain factual allegations about which

claims of the ’601 Patent Defendants allegedly infringe, simply alleging that Atmos infringes “at

least Claim 1.” [Compl. ¶ 102.] It is not clear to Atmos specifically which claims of the ’601 Patent

Pura claims are infringed, if it is only Claim 1, or if there are multiple claims. Regardless, Pura’s

Complaint is deficient as there are no factual allegations sufficient to support the claim that Atmos’

products practice every claim of Claim 1, assuming that is the exemplary claim. One of the

elements required by Claim 1 of the ’601 Patent is for “a controller configured to generate the

control data to adjust a first intensity of a first fragrance based on the first fragrance solution

dispensed from the first vial, the first intensity adjusted by adjusting the first temperature at a first

set point of the first heating element to an adjusted temperature at an adjusted set point, the control

data based at least in part on the first feedback to maintain the adjusted temperature at the adjusted

set point during diffusion of the first fragrance solution.” The Complaint does not plainly allege

that any of Atmos’ products practice the limitation of having the intensity of a fragrance controlled

by adjusting the temperature of a set point.

        Pura’s Complaint is therefore deficient, failing to meet the standards under Iqbal and

Twombly as the claim for infringement of the ’601 Patent is not supported by factual allegations

that any Atmos product practices every element of Claim 1 of the ’601 Patent. Because Pura’s

Complaint fails to meet the requisite standards, this court should dismiss the claim for infringement


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of the ’601 Patent.

 V.     THE COMPLAINT FAILS TO STATE A CLAIM FOR BREACH OF CONTRACT

       Finally, Pura’s Complaint fails to allege facts sufficient to state a claim for breach of

contract against Ms. Knight. Under Utah law, to bring a claim for breach of contract, there must

be “(1) a contract, (2) performance by the party seeking recovery, (3) breach of contract by the

other party, and (4) damages.” Green Oak Hedge Fund v. Hopkinson, No. 2:06-cv-636, 2007 WL

2029314 (D. Utah Jul. 9, 2007). As previously stated in this Motion, a complaint is deficient and

fails to plausibly state a claim for relief when the complaint only contains conclusory statements

that are turned into factual allegations when preceded by “on information and belief” statements.

See Balfour Beatty Infrastructure Inc. v. Am. Track Generations LLC, No. 19- 249, 2020 WL

13049359, at *4 (D. Wyo. June 22, 2020)

       Here, Pura’s Complaint alleges that the agreement between Pura and Ms. Knight was valid

and enforceable, that Pura performed its obligations under the agreement by acting in accordance

with the agreement, and that Ms. Knight agreed to protect Pura’s confidential information. [Compl.

¶¶ 112-14.] However, when it comes to the issue of breach, Pura’s Complaint fails to put forth any

facts indicating a breach by Ms. Knight. Rather, Pura relies on “on information and belief”

statements. Pura alleges “[o]n information and belief, Ms. Knight materially breached the Knight

Agreement by (among other things) Disclosing Pura’s confidential information to Atmos; and

using Pura’s confidential information to develop products for Atmos that directly compete with

Pura’s products.” [Compl. ¶ 117.] These conclusory statements are insufficient to support any

claim that Ms. Knight breached her contract with Pura.

       Because Pura’s Complaint fails to allege any facts to make it plausible on its face that Ms.


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Knight breached her agreement with Pura, the Court should dismiss Pura’s claims for breach of

contract against Ms. Knight.

                                   VI.    CONCLUSION

       Defendants respectfully request dismissal of Pura’s claims for trade secret

misappropriation, patent infringement, and breach of contract for failure to state a claim upon

which relief can be granted.

       Dated: February 18, 2025

                                                Respectfully submitted,

                                                Kunzler Bean & Adamson

                                                /s/ Chad S. Pehrson
                                                Chad S. Pehrson

                                                Attorneys for Defendants




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 18th day of February, 2025, I caused a true and correct copy

of DEFENDANT ATMOS, INC.’S MOTION TO DISMISS COMPLAINT PURSUANT TO

FED. R. CIV. P. 12(B)(6) to be submitted for electronic filing through the Court’s CM/ECF

system which automatically effectuated service of process upon all counsel of record.



                                                     /s/Chad S. Pehrson




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